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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              Civil Action No. 9:16-cv-81992-MARRA

  BRANDON LEIDEL, individually,
  and on behalf of All Others Similarly Situated,
         Plaintiff,
  v.
  COINBASE, INC., a Delaware corporation
  d/b/a Global Digital Asset Exchange (GDAX),
        Defendant.
  ________________________________________________/

   ORDER GRANTING UNOPPOSED MOTION TO FILE UNDER SEAL DEFENDANT’S
       OPPOSITION TO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

         THIS CAUSE came before the Court on Defendant’s Unopposed Motion to File Under

  Seal Defendant’s Motion to File Under Seal Defendant’s Opposition to Plaintiff’s Motion for Class

  Certification (DE 127). The Court has reviewed Defendant’s motion and is otherwise fully advised

  in the premises. It is hereby:

         ORDERED AND ADJUDGED that Defendant’s Motion to File Under Seal (DE 127) is

  hereby GRANTED. Defendant shall file under seal Defendant’s Opposition to Plaintiff’s Motion

  for Class Certification. Defendant’s Opposition to Plaintiff’s Motion for Class Certification shall

  remain under seal until further Order of the Court.

         DONE and ORDERED in Chambers at West Palm Beach County, Florida, this 5th day of

  September, 2019.




                                                              KENNETH A. MARRA
                                                              United States District Judge
